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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

v.                                    No. 4:12CR00306-002 KGB

HAROLD DAVID HOLLADAY, JR.

                                    ORDER OF FORFEITURE

       It is hereby ordered that:

       1.        As the result of the December 5, 2013, guilty plea of Harold David Holladay, Jr.

(“Defendant”), Defendant shall forfeit to the United States a sum of money in the amount of

$1,000,000.00, which represents the proceeds obtained as a result of the drug-trafficking offense

charged in Count 1 of the Second Superseding Indictment, and all interests and property

traceable to such proceeds (collectively “property subject to forfeiture”). The plea agreement at

paragraph 12 recites the terms of the Defendant’s and the United States’s agreement as to asset

forfeiture (Dkt. No. 462).

       2.        Upon the entry of this Order, the United States Attorney General (or a designee)

is authorized to seize the above-listed property and to conduct any discovery proper in

identifying, locating, or disposing of the property subject to forfeiture.     Fed. R. Crim. P

32.2(b)(3).

       3.        This Order of Forfeiture shall become final as to Defendant at the time of

sentencing and shall be made part of the sentence and included in the judgment. Fed. R. Crim. P.

32.2(b)(4)(A).

       4.        The Court shall retain jurisdiction to enforce this Order and to amend it as

necessary. See Fed. R. Crim. P. 32.2(e).
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SO ORDERED this 30th day of April 2014.




                                    HONORABLE KRISTINE G. BAKER
                                    UNITED STATES DISTRICT JUDGE




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